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11
   Attorneys for Plaintiffs,
12 Arthur Catalano, Matthew Fernandes,
13 Andre Joseph, Alexander Alonso, and Randolph Jones
14                            UNITED STATES DISTRICT COURT
15                           CENTRAL DISTRICT OF CALIFORNIA

16   RICHARD DALTON, MATTHEW                       Case No.: 2:19-cv-04821-MWF-KS
     FERNANDES, ANDRE JOSEPH,
17
     ALEXANDER ALONSO, AND                          CLASS ACTION
18   RANDOLPH JONES, individually
     and on behalf of all others similarly          DECLARATION OF YANA A. HART
19
     situated,                                      IN SUPPORT OF PLAINTIFFS’
20                                                  MOTION TO REOPEN CASE
                         Plaintiffs,                PURSUANT TO FRCP 60(b)(6)
21
22                                     v.           Hon. Michael W. Fitzgerald
                                                    Date: May 3, 2021
23
     ANOVOS PRODUCTIONS, LLC                        Time: 10 a.m.
24   DISNEY LUCASFILM LTD.,
     NBCUNIVERSAL MEDIA, LLC,
25
     AND CBS STUDIOS, INC.,
26
                         Defendants.
27
28
                                                    1
     ______________________________________________________________________________________________
     DECLARATION OF YANA A. HART                     Dalton et al. v. Anovos Productions, LLC et al.
                                                                Case No.: 2:19-cv-04821-MWF-KF
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 1          I, Yana A. Hart, declare:

 2      1. I am the one of the attorneys for the plaintiffs in this action. I am over the age

 3          of 18 and am fully competent to make this declaration.
 4
        2. If called as a witness, I would competently testify to the matters herein from
 5
 6          personal knowledge. The declaration is based upon my personal knowledge.

 7      3. I submit this declaration in support of Plaintiffs' Motion to Enforce Settlement
 8
            Agreement.
 9
10      4. The above captioned action was filed on June 3, 2019.

11      5. A settlement of this matter (on individual basis) was reached on or around
12
            August 4, 2020.
13
14      6. The named parties and several members of the putative class agreed to execute

15          certain settlement agreements.
16
        7. Defendant also agreed to pay a certain amount to Plaintiffs’ counsel
17
18          designated as attorney’s fees.

19      8. The settlement agreement included a stipulation of the parties that this Court
20
            would retain jurisdiction for purposes of enforcing the terms of the settlement
21
22          agreement.
23      9. A joint stipulation to dismiss the case was filed on September 16, 2020.
24
        10. An order dismissing the case with prejudice as to the named Plaintiffs, and
25
26          without prejudice as to the putative class, was issued by this Court on
27          September 17, 2020.
28
                                                    2
     ______________________________________________________________________________________________
     DECLARATION OF YANA A. HART                     Dalton et al. v. Anovos Productions, LLC et al.
                                                                Case No.: 2:19-cv-04821-MWF-KF
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 1      11. Defendant has failed to pay the amounts due and owing pursuant to the

 2          agreement for the attorneys’ fees and certain amounts to a putative class
 3
            member.
 4
 5      12. I have contacted counsel repeatedly between November 2020 and January

 6          2021 to determine if and when Defendant would cure its default. I did not
 7
            receive any confirmation that Defendant is willing to cure a default by any
 8
 9          date certain.

10      13. Further, in January 2021, I indicated that our office intends to file a motion to
11
            enforce settlement, at which point I invited Defense Counsel to confer
12
13          telephonically.

14      14. At that point, I was notified by Defense Counsel that they no longer represent
15
            Defendant in this action.
16
17      15. However, in abundance of caution, I cannot speak to Defendant directly

18          because Defense Counsel is listed as an attorney representing Defendant (i.e.
19
            was not formally withdrawn), and is also listed as a contact party under the
20
21          settlement agreements.
22      16. Therefore, I cannot conduct any effective meet and confer discussions with
23
            either current Defense Counsel listed on the docket or the Defendant.
24
25      17. For this reason, I could not conduct effective meet and confer conference on
26          this matter with counsel. We intend to serve Defendant directly through a
27
            process server with Plaintiff’s motion.
28
                                                    3
     ______________________________________________________________________________________________
     DECLARATION OF YANA A. HART                     Dalton et al. v. Anovos Productions, LLC et al.
                                                                Case No.: 2:19-cv-04821-MWF-KF
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 1      18. The terms of the settlement agreement breached by Defendant were material

 2          and were the basis for Plaintiffs’ agreeing to dismiss this case.
 3
        19. Further, although Defendant partially cured its default by making a payment
 4
 5          to a putative class representative, to date, it has not made the payments to

 6          cover the attorneys’ fees it agreed to pay.
 7
        20. If this case is reopened, Plaintiff intends to file a motion to enforce the
 8
 9          settlement agreement.

10      21. A copy of a redacted settlement agreement between Plaintiffs and Anovos is
11
            attached to this declaration as Exhibit A. The portion of the settlement
12
13          agreement which indicates the Central District of California would retain

14          jurisdiction over any disputes arising out of or in connection with the
15
            settlement agreement appears on page 3. Many terms of the agreement are
16
17          redacted due to the fact that the material terms of the settlement agreement

18          are confidential pursuant to the agreement itself.
19
        22. Finally, I would like to inform the Court that I will be departing from
20
21          Kazerouni Law Group, APC on April 2, 2021. Therefore, the main partner,
22          Abbas Kazerounian and other associates at the firm will be handling this case
23
            moving forward.
24
25
26 //
27
   //
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                                                    4
     ______________________________________________________________________________________________
     DECLARATION OF YANA A. HART                     Dalton et al. v. Anovos Productions, LLC et al.
                                                                Case No.: 2:19-cv-04821-MWF-KF
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 1          I declare under penalty of perjury under the laws of California and the United
 2 States of America that the foregoing is true and correct, and that this declaration was
 3 executed on April 1, 2021.
 4
            Respectfully submitted,
 5
 6                                                     KAZEROUNI LAW GROUP, APC

 7          Date: April 1, 2021                        s/ Yana Hart
 8                                                     Yana A. Hart, Esq.
                                                       Attorneys for Plaintiff
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     DECLARATION OF YANA A. HART                     Dalton et al. v. Anovos Productions, LLC et al.
                                                                Case No.: 2:19-cv-04821-MWF-KF
